7 F.3d 227
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Raymond Edward JAMES, Defendant-Appellant.
    No. 93-6417.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 10, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CR-85-12-CR-5-BR)
      Raymond Edward James, Appellant Pro Se.
      John Douglas McCullough, Assistant United States Attorney, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Raymond Edward James appeals from the district court's order denying his Fed.  R. Crim.  P. 35(a) motion, which the court construed as a motion under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses no abuse of discretion and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  United States v. James, No. CR-85-12CR-5-BR (E.D.N.C. Apr. 19, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We also grant James' motion to dispense with the filing of an Appendix
      
    
    